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                                                                                 United States District Court
                       UNITED STATES DISTRICT COURT                                Southern District of Texas
                    FOR THE SOUTHERN DISTRICT OF TEXAS                                ENTERED
                             MCALLEN DIVISION                                        March 28, 2018
                                                                                   David J. Bradley, Clerk

UNITED STATES OF AMERICA                       §
                                               §
versus                                         §         Criminal No. 7:18−cr−00008
                                               §
Urbisio Munguia                                §

                  PRE−SENTENCE INVESTIGATION SCHEDULE

     The Defendant having been adjudicated GUILTY in this cause, it is hereby ORDERED
as provided by Local Rule 32 of the Southern District of Texas.

1.   That the investigation and preparation of the pre-sentence report be completed by May
     2, 2018.

2.   That immediately thereupon the pre-sentence report shall be made available to the
     Defense Counsel and Counsel for the Government via electronic delivery.

3.   That counsel shall electronically file objections to the report (including the alleged facts
     of the offense and application of the sentencing guidelines) by May 16, 2018. A hard
     copy of such objections shall also be provided to Probation. If there is no objection,
     likewise a statement of non-opposition signed by Counsel and the Defendant shall be
     filed.

4.   That after further investigation the pre-sentence officer shall submit a final report by
     May 30, 2018.

5.   That counsel shall electronically file memorandums and/or any documentation for
     sentencing purposes 7 days before the sentencing hearing. Any documentation not
     timely filed may be orally presented at the time of the sentencing.

6.   That this case is set for sentencing hearing on June 13, 2018 at 02:00 PM.

     SO ORDERED on March 28, 2018 at McAllen, Texas.
